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   definition (found at 6 U.S.C. § 279(g)(2)) at the time of filing their asylum

   application. USCIS certifies that all of those determinations were issued pursuant to

   Paragraph III.C of the Settlement Agreement, in that the basis for each Adverse

   Jurisdictional Determination was the Class Member’s placement in adult

   immigration detention after a Prior UAC Determination but before filing their

   asylum application.

D. [Relating to Paragraph III.D] USCIS has complied with Paragraph III.D of the

    Settlement Agreement in determining its jurisdiction over Class Members’

    asylum applications.

E. [Relating to Paragraph III.E]

       1. [Relating to Paragraph III.E.1] As of May 19, 2025, USCIS has retracted

           Adverse Jurisdictional Determinations in the cases of 30 Class Members, as

           required by Paragraph III.C.2 of the Settlement Agreement. As of May 19,

           2025, USCIS has fully complied with Paragraph III.E.1 of the Settlement

           Agreement.

       2. [Relating to Paragraph III.E.2] As of May 19, 2025, USCIS has retracted

           Adverse Jurisdictional Determinations in the cases of 303 Class Members, as

           required by Paragraphs III.B and/or III.D of the Settlement Agreement. As

           of May 19, 2025, USCIS has fully complied with Paragraph III.E.2 of the

           Settlement Agreement.

       3. [Relating to Paragraph III.E.3] As of May 19, 2025, USCIS has mailed

           notices of re-examination of jurisdictional determinations to 996 Class

           Members. As of May 19, 2025, USCIS has fully complied with Paragraph

           III.E.3 of the Settlement Agreement.
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   F. [Relating to Paragraph III.F] As of May 19, 2025, USCIS has mailed notices to 1871

      Class Members notifying them that USCIS has released a hold placed on the

      application in or after March 2021. As of May 19, 2025, USCIS has fully complied

      with Paragraph III.F of the Settlement Agreement.

  G. [Relating to Paragraph III.G] As of February 25, 2025, USCIS has adopted procedures

      for expediting Class Members’ cases as provided under Paragraph III.G of the

      Settlement Agreement. The public may find those procedures online under the

      related links tab at https://www.uscis.gov/humanitarian/refugees-and-

      asylum/asylum/minor-children-applying-for-asylum-by-themselves.




Dated: May 27, 2025                Respectfully Submitted,

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